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                                                            7    Attorneys for Teleperformance Business Services US, LLC
                                                            8
                                                                                               UNITED STATES DISTRICT COURT
                                                            9
                                                                                                      DISTRICT OF NEVADA
                                                            10
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                                 DIANE ST. CLAIR,                                     Case No. 2:20-cv-01880-GMN-VCF
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            11
                                                                                                 Plaintiff,
                      LAS VEGAS, NEVADA 89134




                                                            12
                                                                 vs.                                                  STIPULATION AND ORDER FOR
AKERMAN LLP




                                                            13                                                        EXTENSION OF TIME TO RESPOND TO
                                                                 IENERGIZER, INC.; GC SERVICES LIMITED                COMPLAINT
                                                            14   PARTNERSHIP;        TELEPERFORMANCE
                                                                 BUSINESS SERVICES US, LLC; ALORICA,                  (FIRST REQUEST)
                                                            15   INC.; and DOES 1-5,

                                                            16
                                                                                                Defendants.
                                                            17

                                                            18            Plaintiff Diane St. Clair, and Teleperformance Business Services US, LLC (TBS), stipulate

                                                            19   and agree that TBS shall have an additional eighteen (18) days, up to and including November 20,

                                                            20   2020, to file its response to the plaintiff's complaint, which was currently due on November 2, 2020.

                                                            21   The complaint was filed on October 8, 2020.

                                                            22             Good cause exists to grant the requested extension. Undersigned counsel was only recently

                                                            23   retained and requests the extension so it can have an opportunity to adequately review and respond

                                                            24   to the complaint. The failure to file this request prior to the deadline is the result of excusable

                                                            25   neglect, as counsel was only just retained and reached out to request the extension as soon as it

                                                            26   learned of the deadline.

                                                            27   . . .

                                                            28   . . .

                                                                 {38711120;1}
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                                                            1             This is the parties' first request for an extension of this deadline, and is not intended to cause

                                                            2    any delay or prejudice to any party.

                                                            3             DATED this 5th day of November, 2020.

                                                            4
                                                                 AKERMAN LLP                                              PRICE LAW GROUP
                                                            5
                                                                 /s/ Natalie L. Winslow                                   /s/ Steven A. Alpert
                                                            6    NATALIE L. WINSLOW, ESQ.                                 STEVEN A. ALPERT, ESQ.
                                                                 Nevada Bar No. 12125                                     Nevada Bar No. 8353
                                                            7    JAMIE K. COMBS, ESQ.                                     5940 S. Rainbow Boulevard, Suite 3014
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                                                                 1635 Village Center Circle, Suite 200
                                                            9    Las Vegas, NV 89134                                      Attorneys for Diane St. Clair

                                                            10   Attorneys for Teleperformance Business Services
                                                                 US, LLC
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                                                            11
                      LAS VEGAS, NEVADA 89134




                                                            12                                                   IT IS SO ORDERED.
AKERMAN LLP




                                                            13
                                                                                                                 _________________________________
                                                            14
                                                                                                                 UNITED STATES MAGISTRATE JUDGE
                                                            15                                                              11-6-2020
                                                                                                                 DATED: __________________________
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